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 8                        UNITED STATES DISTRICT COURT
 9                    EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA       )   Case No. 1:12-cr-00417 LJO
                                    )
12                  Plaintiff,      )   STIPULATION AND
                                    )   ORDER FOR EXTENSION OF TIME
13               v.                 )   FOR GOVERNMENT TO FILE RESPONSE
                                    )   TO DEFENDANT’S MOTION TO
14   MICHAEL ANGEL ESPINOZA,        )   SUPPRESS
                                    )
15                  Defendant.      )
     _______________________________)
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17        IT IS HEREBY STIPULATED by and between Benjamin B. Wagner,
18   United States Attorney and Kimberly A. Sanchez, Assistant U.S.
19   Attorney and Andras Farkas, Assistant Federal Defender, attorney
20   for defendant, that the due date of February 25, 2013 for the
21   government’s response to defendant’s motion to suppress be
22   extended to March 1, 2013 and due date of March 1, 2013 be
23   extended to March 7, 2013.    The hearing on said motions is
24   scheduled for March 11, 2013, and there is no request to move
25   that hearing date.
26        The government has had a number of due dates this week,
27   including a Ninth Circuit brief due for review to the appellate
28   chief, assistance on an arrest that required much more time than
 1   reasonably anticipated, and responses to various other
 2   professional requests.       As such, the government requests the
 3   extra time to complete its response to the defendant’s motion to
 4   suppress evidence.
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 6   Dated: February 22, 2013                Respectfully submitted,
 7                                           BENJAMIN B. WAGNER
                                             United States Attorney
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 9                                      By    /s/ Kimberly A. Sanchez
                                             KIMBERLY A. SANCHEZ
10                                           Assistant U.S. Attorney
11   Dated: February 22, 2013                 /s/ Andras Farkas
                                             ANDRAS FARKAS
12                                           Assistant Federal Defender
                                             Attorney for Defendant
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15   IT IS SO ORDERED.
16   Dated:   February 23, 2013        /s/ Lawrence J. O'Neill   B9ed48
                                       UNITED STATES DISTRICT JUDGE
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